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MIDDLE DISTRIC'I` OF FLORlDA
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ROBER'I` K. GULLO and m ': 1 331311'\`1137 CCU.<`
LAURIE A. GULLo, 1` 119 ‘~@§9’ ..T,JP,]'C§!%§,F$§‘“"

Plaintif`fs,
v. cAsE No.; uf\'>"Cv-w»‘l' °£L’
POLLACK & ROSEN, P.A. and
REGIONS BANK,

Defendants.

/
COMPLAINT

l. Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 et

seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq.
(“FCCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”).
INTRODUCTION

2. The TCPA was enacted to prevent companies like POLLACK & ROSEN, P.A. and
REGIONS BANK from invading American citizen’s privacy and prevent abusive “robo-calls.”
3. “The TCPA is designed to protect individual consumers from receiving intrusive and
unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct. 740, 745, 181
L.Ed. 2d 881 (2012).

4. “Senator l-lollings, the TCPA’s sponsor, described these calls as ‘the *1256 scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

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subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B._, 746 F. 3d 1242 (11"‘ cir. 2014).

5. It is the purpose of the FDCPA to eliminate abusive debt collection practices by debt
collectors, to insure that those debt collectors who refrain from using abusive debt collection
practices are not competitively disadvantaged, and, to promote consistent State action to protect
consumers against debt collection abuses. 15 USC l692.

6. "’The FCCPA is a laudable legislative attempt to curb what the legislature evidently
found to be a series of abuses in the area of debtor-creditor relations.’ The FCCPA also defines
and protects an individual's right to privacy with regards to consumer collections practices in the
state.” (Fla. Dist.Ct. App. lst Dist. 2007).” LeBlanc v. Umfmd CCR Parmers, 601 F.3d 1185
(l lth Cir. 2010) (citing Laughlin v. Househo[a' Bank, le., 969 So.2d 509 and lOA F|a. Jur. 2D
Consumer § 138 (2010)).

JURISDICTION AND VENUE

7. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28

U.S.C. §1331.

8. The alleged violations described in the Comp|aint occurred in Pinellas County, Florida.
FACTUAL ALLEGATlONS

9. Plaintiffs are natural persons, and citizens of the State of Florida, residing in Pinellas

County, Florida

10. Plaintiffs are each a “consumer” as defined in Florida Statute 559.55(8) and 15 U.S.C. §
l692(a)(3).

11. Plaintiffs are each an “alleged debtor” under the FCCPA because they are each natural
persons who are the subject of collection efforts to collect an alleged obligation that arose from a

transaction for personal, family or household purposes.
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12. Plaintiffs are each the “called party” as the subscriber and regular users of their phones.
See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d 1265 (11lh Cir. 2014) and 0s0r1`0 v. State
Farm Bank, F.S.B., 746 F. 3d 1242 (l 1th Cir. 2014).
13. Defendant, POLLACK & ROSEN, P.A., is a corporation formed in Florida which
conducts business within the State of Florida.
14. Defendant POLLACK & ROSEN, P.A. is a “debt collector” as defined by Fla. Stat. §
559.55(7) and 15 U.S.C. § 1692(a)(6) as its principle business is the collection of consumer debts
and was doing such in relation to Plaintiffs.
15. Defendants, POLLACK & ROSEN and REGIONS BANK have a principle/agent
relationship.
16. Defendant, REGIONS/BANK, as the principle, consented to and has knowledge and
control of the activities of Defendant, POLLACK & ROSEN, as its agent.
17. At all times material hereto, Defendants, POLLACK & ROSEN and REGIONS BANK
maintained a principle/agent relationship.
18. The debt that is the subject matter of this complaint is a “consumer debt” as is defined by
Fla. Stat. §559.55(6) and U.S.C. § l692(a)(5).
19. POLLACK & ROSEN, P.A. called Plaintiffs on Plaintiff’s cellular phones ending in
2743 and 0497, respectively, no less than fourteen (14) times, on behalf of Regions Bank, and, in
an attempt to collect an alleged debt in the amount of $41,722.13.
20. These calls include, but are not limited:

a. A call from 305-448-0006 on June 10, 2014 at l 1:46 a.m. to cell phone number

***_***,2743_
b. A call from 305-448-0006 on June 10, 2014 at 11:49 a.m. to cell phone number

***_***_0497_

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c. A call from 305-448-0006 on July 9, 2014 at 12:58 p.m. to cell phone number ***-
***-2743.
d. A call from 305-448-0006 on July 9, 2014 at 1:03 p.m. to cell phone number ***-
***-0497.
e. A call from 305-448-0006 on July 24, 2014 at 10:01 a.m. to cell phone number
***_#**_2743_
f. A call from 305-448-0006 on July 31, 2014 at 3:36 p.m. to cell phone number ***-
***-2743.
g. A call from 305-448-0006 on August 8, 2014 at 8:59 a.m. to cell phone number
***_***_2743_
h. A call from 305-448-0006 on August 14, 2014 at 7:35 p.m. to cell phone number
***_***_2743_
i. A call from 305-448-0006 on September 17, 2014 at 3:48 p.m. to cell phone
number ***-***-2743.
j. A call from 305-448-0006 on September 24, 2014 at 1:24 p.m. to cell phone
number ***-***-2743.
k. A call from 305-448-0006 on November 19, 2014 at 2:31 p.m. to cell phone
number ***-***-2743.
l. 'l`wo calls from 305-448-0006 on March 11, 2015 at 2:43 p.m. and 2248 p.m. to
cell phone number ***-***-2743.
21. Each ca11 POLLACK & ROSEN, P.A. made to Plaintiffs were made using an “automatic
telephone dialing system” which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator; and to dial such numbers as specified by

47 U.S.c §227(3)(1).

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22. Each call POLLACK & ROSEN, P.A. made to Plaintiffs were made using a prerecorded
voice.

23. Each call POLLACK & ROSEN, P.A. made to Plaintiff`s were as an agent or employee of`
REGlONS BANK,

24. Each ca11 POLLACK & ROEN, P.A. made to Plaintif`f`s were made on behalf of
REGlONS BANK.

25. REGlONS BANK has knowledge of` and control over the actions of POLLACK &
ROSEN, P.A. when it collects debts for REGlONS BANK.

26. Plaintiffs did not expressly consent to POLLACK & ROSEN, P.A.’s placement of
telephone calls to Plaintif`f`s’ cellular telephone(s) by the use of` an automatic telephone dialing
system or a pre-recorded or artificial voice prior to POLLACK & ROSEN, P.A.’s placement of
the calls.

27. Plaintiff`s did not expressly consent to REGlONS BANK’s placement of telephone calls
to Plaintiffs’ cellular telephone(s) by the use of an automatic telephone dialing system or a pre-
recorded or artificial voice prior to POLLACK & ROSEN, P.A.’s placement of` the calls.

28. POLLACK & ROSEN, P.A. has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as they did to Plaintif`fs’ cellular
telephone in this case.

29. POLLACK & ROSEN, P.A. has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice, just as they did to Plaintiffs’ cellular telephone(s) in
this case, with no way for the consumer, or POLLACK & ROSEN, P.A., to remove the number
from the automatic telephone dialing system.

30. POLLACK & ROSEN, P.A.’s corporate policy provided no means for Plaintiffs to have

their respective cellular telephone numbers removed from the call list.
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31. Not one of POLLACK & ROSEN, P.A.’s telephone calls placed to Plaintif`fs were for
“emergency purposes” as is specified in 47 U.S.C. §227(b)(1)(A).

32. Both POLLACK & ROSEN, P.A. and REGlONS BANK willfully and/or knowingly
violated the TCPA with respect to Plaintiffs.

33. Both POLLACK & ROSEN, P.A. and REGlONS BANK have several cases against them
alleging violations of` the TCPA.

34. Both POLLACK & ROSEN, P.A. and REGlONS BANK were aware that Plaintiffs did
not owe $41,722.13 due to the sale of the property that secured the alleged debt.

35. Both POLLACK & ROSEN, P.A. and REGlONS BANK attempted to collect $41,722.13
from Plaintiffs through collection calls and letters despite knowing that such amount was not
owed.

36. ln addition to such other collection efforts, on April 25, 2014, POLLACK & ROSEN,
P.A. filed a lawsuit in Pinellas County, Florida on behalf of REGlONS BANK which it sought to
collect $41,722.13 from Plaintiffs.

37. Defendant, REGlONS BANK, consented to and has knowledge and control of the
activities of its agents and representatives, supervisors, managers, affiliates, subsidiaries,
divisions, employees, servants, partners, agents, vendors, assignees, transferees, collectors and/or
contractors, including, but not limited to, POLLACK & ROSEN, P.A. and specifically in regards
to all actions described in this complaint.

38. Under information and belief, REGlONS BANK had knowledge of all actions (further
described in the complaint) taken by its agents, POLLACK & ROSEN, P.A, and specifically
instructed and/ or conspired with them to take such actions in regards to Plaintiffs.

39. At all times material hereto, REGlONS BANK acknowledged POLLACK & ROSEN,

P.A. would act on behalf of REGlONS BANK with respect to the conduct alleged herein.
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40. At all times material hereto, POLLACK & ROSEN, P.A. accepted acting on behalf of
REGlONS BANK with respect to the conduct alleged herein and and REGlONS BANK
retained control over the actions of its authorized agents.

4l. Upon information and belief, the aforementioned principal/agent relationship by and
between REGlONS BANK, as principal, and POLLACK & ROSEN, P.A., as agent, was
pursuant to an express agreement, implied agreement and/or gratuitous undertaking.

42. As a result of these collection efforts, Plaintiffs each suffered stress, sleeplessness,
emotional distres and anxiety resulting from the attempted collection of amounts far in excess of
any amount rightfully owed by Plaintiffs.

COUNT l
(Violation of the TCPA by POLLACK & ROSEN, P.A)

43. Plaintiffs fully incorporate Paragraphs 1 through 42.

44. POLLACK & ROSEN, P.A. violated the TCPA with respect to Plaintiffs, for each of the
auto-dialer calls made to Plaintiffs’ cellular telephone(s).

45. POLLACK & ROSEN, P.A. violated the TCPA with respect to Plaintiffs, for each of the
prerecorded or artificial voice calls made to Plaintiffs’ cellular telephone(s).

46. POLLACK & ROSEN, P.A. repeatedly placed non-emergency telephone calls to
Plaintiffs’ cellular telephone(s) using an automatic telephone dialing system or prerecorded or
artificial voice without Plaintiffs’ prior express consent and in violation of federal law, including
47 U.S.C § 227(b)(l)(A)(iii).

47. POLLACK & ROSEN, P.A. repeatedly placed non-emergency telephone calls to
Plaintiffs’ cellular telephone(s) using a prerecorded or artificial voice without Plaintiffs’ prior

express consent and in violation of federal law, including 47 U.S.C § 227(b)(l)(A)(iii).

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WHEREFORE, Plaintiffs respectfully demand a trial by jury on all issues so triable and
judgment against POLLACK & ROSEN, P.A. for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any
other such relief the court may deem just and proper.

QQLM`£
(Violation of the TCPA by REGlONS BANK)

48. Plaintiffs fully incorporate Paragraphs 1 through 42.

49. REGlONS BANK is vicariously liable under the TCPA for the calls placed on its behalf
by POLLACK & ROSEN, P.A.

50. REGlONS BANK, throughits agent or employee POLLACK & ROSEN, P.A., violated
the TCPA with respect to Plaintiffs, for each of the auto-dialer calls made to Plaintiffs’ cellular
telephone(s).

51. REGlONS BANK, throughits agent or employee POLLACK & ROSEN, P.A., violated
the TCPA with respect to Plaintiffs, for each of the prerecorded or artificial voice calls made to
Plaintiffs’ cellular telephone(s).

52. REGlONS BANK, through its agent or employee POLLACK & ROSEN, P.A.,
repeatedly placed non-emergency telephone calls to Plaintiffs’ cellular telephone(s) using an
automatic telephone dialing system or prerecorded or artificial voice without Plaintiffs’ prior
express consent in violation of federal law, including 47 U.S.C § 227(b)(l )(A)(iii).

53. REGlONS BANK, through its agent or employee POLLACK & ROSEN, P.A.,
repeatedly placed non-emergency telephone calls to Plaintiffs’ cellular telephone(s) using a
prerecorded or artificial voice without Plaintiffs’ prior express consent in violation of federal

law, including 47 U.S.C § 227(b)(l)(A)(iii).

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WHEREFORE, Plaintiffs respectfully demand a trial by jury on all issues so triable and
judgment against POLLACK & ROSEN, P.A. for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any

other such relief the court may deem just and proper.

§QM
(Violation of the FCCPA by POLLACK)

54. Plaintiffs fully incorporate Paragraphs 1 through 42.

55. At all times relevant hereto POLLACK & ROSEN, P.A. is subject to and must abide by

the law of Florida, including Fla. Stat. § 559.72.

56. POLLACK & ROSEN, P.A. has violated Fla. Stat. §559.72(9) by claiming, attempting or

threatening to enforce a debt when such person knows that the debt is not legitimate

57. POLLACK & ROSEN, P.A.’s actions have directly and proximately resulted in

Plaintiffs prior and continuous sustaining of damages as described by Florida Statute §559.77.
WHEREFORE, Plaintiffs respectfully demand a trial by jury on all issues so triable and

judgment against POLLACK & ROSEN, P.A. for statutory damages, punitive damages, actual

damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any

other such relief the court may deem just and proper.

QLM_H
(violanon orthe FCCPA by REGlONS BANK)

58. Plaintiffs fully incorporate Paragraphs 1 through 42.

59. At all times material hereto POLLACK & ROSEN, P.A. is subject to and must abide by

the law of Florida, including Fla. Stat. § 559.72.

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60. REGlONS BANK has violated Fla. Stat. §559.72(9) by claiming, attempting or
threatening to enforce a debt when such person knows that the debt is not legitimate.
61. REGlONS BANK actions have directly and proximately resulted in Plaintiffs’ prior and
continuous sustaining of damages as described by Fla. Stat. §559.77.

WHEREFORE, Plaintiffs respectfully demand a trial by jury on all issues so triable and
judgment against REGlONS BANK for statutory damages, punitive damages, actual damages,
costs, interest, attorney fees, enjoinder from further violations of these parts and any other such

relief the court may deem just and proper.

COUNT V
(Violation of the FDCPA by POLLACK & ROSEN, P.A.)

62. Plaintiffs fully incorporates Paragraphs l through 42.

63. At all times relevant to this action POLLACK & ROSEN, P.A. is subject to and must
abide by 15 U.S.C. § 1692 et seq.

64. POLLACK & ROSEN, P.A. has violated 15 U.S.C. § 1692(d) by willfully engaging in
conduct the natural consequence of which is to harass, oppress, or abuse any person in
connection with the collection of a debt.

65. POLLACK & ROSEN, P.A. has violated 15 U.S.C. § 1692(d)(5) by causing a telephone
to ring or engaging any person in telephone conversation repeatedly or continuously with intent
to annoy, abuse, or harass any person at the called number.

66. POLLACK & ROSEN, P.A. has violated 15 U.S.C. § l692(e) by making false,
deceptive, or misleading representation in the collection of a consumer debt.

67. POLLACK & RGSEN, P.A. has violated 15 U.S.C. § l692(f) by using unfair and
unconscionable means to collect or attempt to collect any debt.

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WHEREFORE, Plaintiffs respectfully demand a trial by jury on all issues so triable and
judgment against POLLACK & ROSEN, P.A. for statutory damages, punitive damages, actual

damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any

other such relief the court may deemjust and proper.

 

 

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